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                                                       1   on or about June 3, 2017 was certified as airworthy by the FAA and was
                                                       2   maintained and inspected in accordance with the FAA's requirements for safe
                                                       3   operation of aircraft.
                                                       4           12.   In the course of my responsibilities at Frontier, I have reviewed
                                                       5   Frontier's records relating to the subject incident, which involved detection of an
                                                       6   odor on flight no. 1630 on or about June 3, 2017. According to Frontier's records,
                                                       7   the pilots of flight 1630 requested, out of an abundance of caution, to land the
                                                       8   aircraft in Phoenix due to an unknown odor.
                                                       9           13.   When such an incident occurs, Frontier maintains records in the
                                                      10   regular course of its business relating to any suspected defects that are reported
                                                      11   with respect to the fleet of aircraft it operates. Attached hereto as Exhibit A is a
                    355 S. Grand Avenue, 14th Floor
                     Los Angeles, California 90071
CLYDE & CO US LLP




                                                      12   true and correct copy of Frontier's defect reports for the subject aircraft, from
                      Telephone: (213) 358-7600




                                                      13   March through July, 2017. The report regarding the subject incident is reflected in
                                                      14   row 121 of Exhibit A.
                                                      15           14.   In accordance with applicable procedures, when the aircraft landed in
                                                      16   Phoenix, it was inspected in accordance with FAA regulations by a technician in
                                                      17   Frontier's FAA-certified maintenance program.           See Declaration of Henry
                                                      18   Villareal.
                                                      19           15.   As evidenced by Exhibit A, the inspection of the aircraft revealed no
                                                      20   problems or issues with the aircraft and, accordingly, no repairs to the aircraft were
                                                      21   made. Exhibit A also reflects that, in the four weeks following the incident, the
                                                      22   subject aircraft was tracked and there were no reports of any unknown odors
                                                      23   detected.
                                                      24           16.   In its regular course of business, Frontier also maintains records
                                                      25   relating to passenger communications with our customer relations department.
                                                      26   Attached hereto as Exhibit B is a true and correct copy of correspondence between
                                                      27   //
                                                      28   //
                                                                                                 -3-
                                                                DECLARATION OF JAMES E. NIDES IN SUPPORT OF FRONTIER AIRLINES, INC.'S
                                                                                 MOTION FOR SUMMARY JUDGMENT
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                 Exhibit A
       A       B      C       D       E                             F                                                   G                              H            I           J          K          L        M         N      O      P       Q      R       S
     Defect                         ATA                                                                                                                        Resolution     Date       ATA      Resolved            AC     AC     Resolution            Resolution
1     Type    Item Status Aircraft Chapter Defect Description                                  Resolution Description                                Station     Date       Reported    Section     By     Log        Type   Series  Station MDDR asc       Log
                                                                                                INSTALLED PRV P/N 70646A010001, S/N 70646-00424 IN                                                          NR11459
2     MX       1   CLOSED    308      36   ESN 598307 MISSING PRV                               REF TO AMM 36-11-52-400-804-A                         DEN        10/13/17    03/13/17      0       427841   8       A320     250N     DEN                  NR114598
                                           TEMP CERTIFICATE OF REGISTRATION INSTALLED
                                           TEMP REGISTRATION VALID UNTIL 05/04/17 AND REQ
                                           TDI INTIL 7 DAYS PRIOR TO EXPIRATION ( TDI           INSTALLED REGISTRATION AS DIRECTED BY EA# A0-
3     MX       2   CLOSED    308      5    TERMINATE ) ( TDI TERMINATE ) ( TDI TERMINATE )      11T-31914                                             TPA        04/11/17    04/07/17     20       404829   1032058   A320   250N     DEN   1127909         1032067
                                           WATER SAMPLE TO BE TAKEN WITHIN 72 HRS AND
                                           ROUTED TO LAB RESULTS TO BE ROUTED TO FDA VIA
                                           FRONTIER ENGINEERING TO OBTAIN CERTIFICATE OF
                                           SANITATION ( TDI TERMINATE ) ( TDI TERMINATE ) ( TDI CLEARED MDDR # 1129172, INSTALLED CERTIFICATION
4     MX       1   CLOSED    308      38   TERMINATE )                                          OF SANATATION AS REQUIRED AND MDDR 1127908            TPA        06/03/17    04/07/17     10       416288   1032058   A320   250N     DEN   1127908         9005247
                                                                                                #1 & #2 ENGINE FAN COWLS CLOSED ON THE
                                                                                                INDUCTION EO N2-25EO-33403. #1 & #2 ENGIJNE FAN
5     MX       2   CLOSED    308      71   #1 & #2 ENGINE FAN COWLS OPEN F.O.M.                 COWL LATCHES VERIFIED CLOSED AND SECURE.              TPA        04/09/17    04/09/17     13       426643   1032054   A320   250N     TPA                   1032054
                                           LANDING GER SAFETY DEVICES AND PITIOT/STATIC         LANDING GEAR SAFETY DEVICES AND PITOT/STATIC
6     MX       1   CLOSED    308      5    COVERS INSTALLED.                                    COVERS REMOVED.                                       TPA        04/09/17    04/09/17     20       426643   1032054   A320   250N     TPA                   1032054
                                                                                                EO A2-25EO-32881 REV H. A320 FRONTIER ACRO SEAT
                                                                                                INSTALLATION AND CABIN RE-CONFIGURATION HAS
7     MX       1   CLOSED    308      25   V.B.M.                                               BEEN ACCOMPLISHED.                                    TPA        04/09/17    04/09/17     21       426643   1032055   A320   250N     TPA                   1032055
                                                                                                EO N2-25EO-33403 REV D. A320 NEO AIRCRAFT
                                                                                                INDUCTION MODIFICATION FOR NEW DELIEVERIES
8     MX       1   CLOSED    308      5    V.B.M.                                               HAS BEEN COMPLIED WITH.                               TPA        04/09/17    04/09/17     20       426643   1032056   A320   250N     TPA                   1032056
                                                                                                ACCOMPLISHED ON PEMCO N/R 1436N1. VALIDATED
                                           VALIDATE ELT S/N HEX CODE MATCHES A/C                ELT HEX CODE S/N MATCHES THE A/C. HEX DECIMAL
9     MX       1   CLOSED    308      25   REGISTRATION.                                        CODE IS AS FOLLOWS 6499034CDAA1.                      TPA        04/09/17    04/09/17     65       426643   1032057   A320   250N     TPA                   1032057
                                                                                                PERFORMED LAND CAT III TEST IAW A320 AMM 22-97-
                                                                                                00-710-001. OP`S CHECKED GOOD CAT III B STATUS
10    MX       1   CLOSED    308      2    V.B.M.                                               RETAINED.                                             TPA        04/09/17    04/09/17     60       426643   1032059   A320   250N     TPA                   1032059
                                           FRONTIER WO 304557 AND PEMCO VISIT 1436              FRONTIER WO 304557 AND PEMCO VISIT 1436 HAS
11    MX       1   CLOSED    308      5    REQUIRES COMPLIANCE.                                 BEEN COMPLIED WITH.                                   TPA        04/09/17    04/09/17     20       426643   1032060   A320   250N     TPA                   1032060
                                                                                                ACCOMPLISHED PERIODIC CHECK PER TASK CARD
12    MX       1   CLOSED    308      5    PERIODIC CHECK REQUIRED                              FFT-M05100-M0-1                                       MCO        04/10/17    04/10/17     20        74534   1032062   A320   250N    MCO                    1032062
                                                                                                RESET FAC #2, FMGC 1 & 2 C/B'S. STATUS NORMAL.
                                                                                                AFS BITE TEST O.K. REF. AMM 22-96-00-710-001.
                                                                                                PERFORMED LAND CATIII CAPABILITY TEST. TEST O.K.
                                                                                                REF. AMM 22-97-00-710-001. A/C RETAINS CATIIIB
13   PILOT     1   CLOSED    308      22   FAC 2 FAULT.                                         STATUS.                                               DEN        04/10/17    04/10/17     96       401570   1032063   A320   250N     DEN                   1032063
                                                                                                REFERENCE ITEM 1 ABOVE, FACE 2 REPLACED.
                                                                                                PERFORMED LAND CAT III TEST REF TO 22-97-00-710-
                                           REF ITEM PREV LOGPAGE FAC 2 MEL REQUIRES             001-A JOB CARD. OPS CHECK GOOD. THIS CLEARS
                                           DOWNGRADE TO CAT IIIA ( CAT IIIB PROHIBITED ) ( CAT MEK 02-60-03A, CONTROL # 1128008 FROM LOGPAGE
14    MX       1   CLOSED    308      2    IIIB PROHIBITED )                                    1032065. AIRCRAFT UPGRADED TO CAT IIIB STATUS.        DEN        04/17/17    04/10/17     60       412964   1032065   A320   250N     DEN   1128008         1032091
                                           A/F FAC 2 FAULT RESET INFLIGHT WAS INITIALLY
                                           SUCCESFUL , FAULT CAME BACK 8 MIN LATER , FAC 2 REF MDDR 1128006 FOR FAC 2 FAULT. R&R FAC 2
                                           SELECTED OFF FOR REMAINDER OF FLIGHT**SEE TS         (1CC2) , REF AMM 22-66-34 PB 401, OPS CHECK GOOD.
                                           TAB FOR UPDATE-DS ( FAC ) ( FAC ) ( FAC ) ( FAC ) (  SEE ITEM 2 THIS LOGPAGE 1032091 FOR LAND CAT IIIB
15   PILOT     1   CLOSED    308      22   FAC ) ( FAC ) ( FAC )                                STATUS.                                               DEN        04/17/17    04/10/17     66       427469   1032064   A320   250N     DEN   1128006         1032091
16    MX       2   CLOSED    308      11   VBM                                                  INSTALL REGISTRATION CLEARS TDI #1127909.             DEN        04/11/17    04/11/17     0        404829   1032067   A320   250N     DEN                   1032067
                                                                                                A/C REGISTRATION HAS BEEN UPDATED PER EA# A0-
17    MX       1   CLOSED    308      11   VBM                                                  11T-31914.                                            DEN        04/11/17    04/11/17     0        404829   1032067   A320   250N     DEN                   1032067
18    MX       1   CLOSED    308      5    PERIODIC CHECK DUE.                                  C/W PERIODIC CHECK.                                   DEN        04/11/17    04/11/17     20       403210   1032068   A320   250N     DEN                   1032068
                                                                                                ACCOMPLISHED SERVICE CHECK PER T/C FFT-D05100-
19    MX       1   CLOSED    308      5    AIRCRAFT REQUIRES SERVICE CHECK                      D0-1                                                  MCO        04/12/17    04/12/17     20       75022    1032071   A320   250N    MCO                    1032071
20    MX       1   CLOSED    308      5    PERIODIC CHECK REQUIRED                              C/W PERIDIC CHECK                                     DEN        04/13/17    04/13/17     20       404563   1032074   A320   250N    DEN                    1032074
                                                                                                                                                                                                                                                                       Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 6 of 16 Page ID #:646
      A      B     C      D     E                            F                                                   G                            H       I          J       K       L         M         N      O    P       Q      R     S
                                                                                       ACCOMPLISHED SERVICE CHECK IAW T/C FFT-D05100-
21    MX     1   CLOSED   308   5    AIRCRAFT REQUIRES SERVICE CHECK.                  D0-1. A/C OK FOR SVC. T.G #ATR0542 EXP 06APR18        MCO   04/14/17   04/14/17   20    75019    1032077   A320   250N   MCO                 1032077
                                     EMK WAS OPENED FOR DOCTERS USE. NEEDS TO BE
22   PILOT   1   CLOSED   308   25   CHECKED AND RESEALED                              INSTALLED NEW EMK AS REQD OK TO CONTINUE              DEN   04/14/17   04/14/17   64    401914   1032078   A320   250N   DEN                   1
                                     ENGINE S/N 598208 #1 L/H REQUIRES COMPLIANCE OF   COMPLIED WITH EA# AC-79R-33719 FOR L/H ENG S/N
23    MX     2   CLOSED   308   79   EA# AC-79R-33719                                  598208                                                DEN   04/15/17   04/15/17   0     403258   1032081   A320   250N   DEN                 1032081
24    MX     1   CLOSED   308   5    PERIODIC CHECK REQUIRED                           COMPLEAED PERIODIC CHECK AS REQUIRED                  DEN   04/15/17   04/15/17   0     403258   1032081   A320   250N   DEN                 1032081
25    MX     1   CLOSED   308   32   INSTALLED MLG DOOR LOCK SLEEVES AS REQUIRED       REMOVED MLG DOOR LOCK SLEEVES AS REQUIRED             MCO   04/16/17   04/16/17   0     74534    1032084   A320   250N   MCO                 1032084
                                                                                       C/W PERIODIC CHECK PER TASK CARD FFT-M01500-M0-
26    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                1                                                     DEN   04/17/17   04/17/17   20    427351   1032090   A320   250N   DEN                 1032090
                                                                                       FM DATABASE UP/CROSS LOADED REF TASK CARD
                                                                                       FFT-T22210-T0-1. NO DEFECTS NOTED AT THIS TIME.
27    MX     1   CLOSED   308   22   FM DATABASE UP/CROSSLOAD REQUIRED                 NEW FMDBFFT81705001.                                  DEN   04/17/17   04/17/17   70    427469   1032092   A320   250N   DEN                 1032092
                                                                                        COMPLIED WITH SERVICE CHECK IN ACCORDANCE
28    MX     1   CLOSED   308   5    SERVICE CHECK DUE                                 WITH GMM 15.01                                        DCA   04/17/17   04/17/17   20     DCA     1032095   A320   250N   DCA                 1032095
                                                                                       TESTED ENG 2 FADEC CHANELS A AND B REF TO AMM
                                                                                       73-29-00-710-802-A, NO FAULTS FOUND. FAULT
29   PILOT   1   CLOSED   308   73   ENG 2 FADEC (CLASS 2 MX)                          CLEARED AT THIS TIME.                                 DEN   04/17/17   04/17/17   20    412964   1032093   A320   250N   DEN                 1032093
30    MX     1   CLOSED   308   5    3 DAY SERVICE CHECK DUE                           3 DAY SERVICE CHECK C/W                               DEN   04/19/17   04/19/17   20    413719   1032098   A320   250N   DEN                 1032098
                                                                                       PERFORMED LEAK CHECK - FOUND NO ACTIVE LEAKS
                                                                                       IAW AMM 71-00-00-790-850-A - - SUSPECT OIL FROM
                                                                                       PREVIOUS AIR CRAFT OIL SERVICE - AIRCRAFT OK
31   PILOT   1   CLOSED   308   71   EVIDENCE OF LIQUID LEAK UNDER # 1 ENGINE          FOR SERVICE                                           DCA   04/19/17   04/19/17   0     70614    1032099   A320   250N   DCA                 1032099
                                                                                       C/W BIRD STRIKE INSPECTION IAW AMM 05-51-14-200-
32   PILOT   1   CLOSED   308   5    BIRD STRIKE BELOW CAPTAIN WINDOW                  803-A, NO DAMAGE FOUND. A/C OK TO CONT SERVICE        DCA   04/19/17   04/19/17   50    70614    1032100   A320   250N   DCA                 1032100
33    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                C/W PERIODIC CHECK                                    DEN   04/20/17   04/20/17   20    403234   1079402   A320   250N   DEN                 1079402
                                                                                        COMPLIED WITH SERVICE CHECK IN ACCORDANCE
34    MX     1   CLOSED   308   5    SERVICE CHECK DUE                                 WITH GMM 15.01                                        TTN   04/21/17   04/21/17   20    75442    1079405   A320   250N   TTN                 1079405
                                                                                       PERFORMED INSPECTION CK AFTER BIRD STRIKE PER
                                                                                       AMM 05-51-19-PB 601 NOT DAMAGE NOTED AT THIS
35   PILOT   1   CLOSED   308   5    BIRDSTRIKE FOUND ON #1 ENGINE ON PREFLIGHT.       TIME. A/C OK FOR SERVICE.                             TTN   04/21/17   04/21/17   50    75442    1079404   A320   250N   TTN                 1079404
                                                                                       (Resolved On W/O: 309882 Taskcard: NR-00001 )
                                     REF L/P 1079404 ITEM 1 INGETSTED BIRD REQUIRES     C/W
36    MX     2   CLOSED   308   5    BORESCOPE INSPECTION. ( TDI TERMINATE )                                                                 TTN   04/22/17   04/21/17   50   FORMECH   1079404   A320   250N   DEN   1128203
                                     #1 ENG REQUIRES IDLE LEAK CHECK AFTER             PERFORMED MIN IDLE LEAK CHECK POST MX INREF
37    MX     2   CLOSED   308   72   BOROSCOPE                                         TO AMM 71-00-00-710-815 NO LEAKS NOTED                DEN   04/22/17   04/22/17   0     403500   1079407   A320   250N   DEN                 1079407
                                                                                       ACCOMPLISHED BOROSCOPE INSP WITH REFERENCE
                                                                                       TO AMM 72-00-00-200-814-A AND 72-30-00-290-801-A N
                                     #1 ENG REQUIRES BOROSCOPE IINSPECTION DUE TO NO DAMAGE OR DEBRIS NOTED. CLOSE TDI
38    MX     1   CLOSED   308   72   BIRD STRIKE PER MDDR 1128203 AND EA AC 72R-33723 MDDR#11282030 AND EA AC-72R-33723                      DEN   04/22/17   04/22/17   0     403212   1079407   A320   250N   DEN                 1079407
                                                                                       INSTALLED BOROSCOPE PLUGS D G AND L ON #1 ENG
                                                                                       IN REF TO AMM 72-00-00-290-812A F9TAB2944C DUE 4-
                                     REMOVED BOROSCOPE PLUGS D, G AND L ON #1          18 F9TAB100310C DCUE 4-17 REINSTALLED
39   PILOT   2   CLOSED   308   5    ENGINE FOR BIRD STRIKE INSPECTION.                HANDCRANK PAD IN REF TO AMM 72-63-03 PB401            DEN   04/22/17   04/22/17   50    403500   1079406   A320   250N   DEN                 1079406
                                     COCKPIT DOOR OPEN LIGHT DOES NOT ILLUMINATE       DEBRIS CAUGHT ON DOOR MID STRIKER LATCH,
                                     WITH DOOR OPEN, LIGHT DOES ILLUMINATE WITH        REMOVED DEBRIS , OPS CHECK NORMAL REF AMM 52-
40   PILOT   1   CLOSED   308   52   ANNUNCIATOR TEST                                  51-12                                                 DEN   04/22/17   04/22/17   51    406801   1079406   A320   250N   DEN                 1079406
                                                                                        COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
41    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                          1.                                                    CVG   04/23/17   04/23/17   20    74975    1079411   A320   250N   CVG                 1079411
                                                                                       RESET ELAC, FWC, FCDC PER MCC BB- 413762. REF
42   PILOT   1   CLOSED   308   27   F/CTL- ALTERNATE LAW MSG                          AMM 27-93-00-710-001.                                 SFO   04/23/17   04/23/17   93    74588    1079413   A320   250N   CVG                 1079413
43    MX     2   CLOSED   308   32   INSTALLED GROUND SAFTY LOCKS                      REMOVED GROUND SAFTY LOCKS AS REQUIRED                DEN   04/24/17   04/24/17   0     404817   1079413   A320   250N   DEN                 1079413
44    MX     2   CLOSED   308   5    SERVICE CHECK REQ                                 C/W SERVICE CHECK                                     DEN   04/24/17   04/24/17   0     403791   1079414   A320   250N   DEN                 1079414
45    MX     1   CLOSED   308   5    PERIODIC CHECK DUE.                               C/W PERIODIC CHECK PER W/C FFT-MO5100-MO1.            DEN   04/25/17   04/25/17   20    401150   1079418   A320   250N   DEN                 1079418
                                     ENG 1 REV MINOR FAULT ( REV MINOR FAULT ON        REF MDDR 1128339 FOR ENG 1 REV MINOR FAULT.
                                     E/WD ) ( REV MINOR FAULT ON E/WD ) ( REV MINOR    RESET ENG 1 T/R TLS HOOK, REF AMM 78-37-00-440-802-
                                     FAULT ON E/WD ) ( REV MINOR FAULT ON E/WD ) ( REV A. ENG 1 T/R OPS CHECK GOOD, REF AMM 73-29-00-740-
46   PILOT   1   CLOSED   308   78   MINOR FAULT ON E/WD )                             804-A. REMOVED MEL & PLACARDS.                        DEN   05/01/17   04/25/17   30    427469   1079419   A320   250N   DEN   1128339       1079437
                                                                                        COMPLIED WITH SERVICE CHECK IN ACCORDANCE
47    MX     2   CLOSED   308   5     SERVICE CHECK DUE                                WITH GMM 15.01                                        LAS   04/26/17   04/26/17   20    74777    1079419   A320   250N   LAS                 1079419
                                     FWD PIT BLOW OUT PANELS DISLODGED ( CARGO         REINSTALLED FWD CARGO COMPARTMENT BLOWOUT
                                     PNL (MX OR OPS FR BEFORE EACH FLT) ) ( CARGO PNL PANEL- REF AMM 25-68-41-920-051 - REMOVED
48   PILOT   1   CLOSED   308   25   (MX OR OPS FR BEFORE EACH FLT) )                  PLACARD.                                              SLC   04/26/17   04/26/17   50    401300   1079421   A320   250N   DEN   1128368       1079421
                                                                                       PERIODIC CHECK C/W PER TASK CARD FFT-M05100-M0-
49    MX     1   CLOSED   308   5    PERIODIC CHECK ASSIGNED                           1                                                     MCO   04/27/17   04/27/17   20    73329    1079423   A320   250N   MCO                 1079423
                                                                                        COMPLIED WITH SERVICE CHECK IN ACCORDANCE
50    MX     1   CLOSED   308   5     SERVICE CHECK DUE                                WITH GMM 15.01                                        TTN   04/27/17   04/27/17   20    75443    1079425   A320   250N   TTN                 1079425
                                     FUEL CAP MISSING SECTION OF O RING ( FUEL CPLNG
                                     CAP (MX FR ONCE EACH FLT DAY) ) ( FUEL CPLNG CAP
                                     (MX FR ONCE EACH FLT DAY) ) ( FUEL CPLNG CAP (MX FUEL CAP O RING INTACT - SMALL PIECE OF SEALENET
51   PILOT   1   CLOSED   308   28   FR ONCE EACH FLT DAY) )                           MISSING FROM PANEL 622HB                              RDU   04/27/17   04/27/17   25    73580    1079424   A320   250N   RDU   1128392       1079424
                                                                                       REMOVED MLG DOOR GROUND LOCK SLEEVES PER
52    MX     2   CLOSED   308   32   INSTALLED MLG DOOR GROUND LOCK SLEEVES            AMM 32-00-00-081-002-A                                TTN   04/29/17   04/29/17   0     75443    1079427   A320   250N   TTN                 1079427
                                                                                                                                                                                                                                              Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 7 of 16 Page ID #:647
      A      B     C      D     E                            F                                                      G                         H       I          J       K      L         M         N      O    P       Q      R     S
                                                                                          COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
53    MX     1   CLOSED   308   5    PERIODIC CHECK REQUIRED                              1.                                                 CVG   04/30/17   04/30/17   20   75428    1079432   A320   250N   CVG                 1079432
                                     SEATBELT AND NO SMOKING SIGN IN FWD GALLEY           PERFORMED SIDS RESET IN IAW AMM 23-73-00-740-
54    MX     1   CLOSED   308   23   DOES NOT ILLUMINATE.                                 005B.TEST OK OK FOR SVC                            CVG   04/30/17   04/30/17   30   74588    1079434   A320   250N   CVG                 1079434
55    MX     1   CLOSED   308   33   STBY COMPASS LIGHT INOP.                             RELAMPED, OPS GOOD AS REQUIRED.                    DEN   05/01/17   05/01/17   10   405245   1079435   A320   250N   DEN                 1079435
                                                                                          C/W 3 DAY SERVICE CHECK PER TASK CARD FFT-
56    MX     2   CLOSED   308   5    3DAY SERVICE CHECK DUE.                              D05100-D0-1.                                       DEN   05/01/17   05/01/17   20   426663   1079436   A320   250N   DEN                 1079436
57    MX     1   CLOSED   308   32   INSTALLED MLG & DOOR SAFETY LOCKS.                   REMOVED MLG & DOOR SAFETY LOCKS.                   DEN   05/01/17   05/01/17   0    426663   1079436   A320   250N   DEN                 1079436
                                                                                          REF MEL 25-22-01B CNTRL #1128505. UNJAMMED AND
                                     FWD OUTBOARD, "C" F/A SEAT SHOULDER HARNESS          RELEASED FWD IB FLIGHT ATTENDENT SEAT BELT
                                     WILL NOT EXTEND ( REQUIRED FA SEAT ) ( REQUIRED HARNESS AS REQUIRED, OPS CK GOOD REF CMM 25-
58   PILOT   1   CLOSED   308   25   FA SEAT ) ( REQUIRED FA SEAT ) ( REQUIRED FA SEAT ) 11-99, REMOVED MEL                                  MCO   05/02/17   05/01/17   22   403174   1079439   A320   250N   DEN   1128505       1079441
                                     FWD OVERHEAD READING LIGHTS IN GALLEY &
                                     SEATBELT / NO SMOKING SIGNS INOP INSIDE C/B
                                     PANEL ( CABIN LT SYS ) ( CABIN LT SYS ) ( CABIN LT   R/R STA PISA IAW AMM 23-73-41 PB 401 OPS CHECK
59   PILOT   1   CLOSED   308   33   SYS ) ( CABIN LT SYS ) ( CABIN LT SYS )              GOOD MEL REMOVED PLACARDS REMOVED                  DTW   05/09/17   05/01/17   26   426819   1079438   A320   250N   DEN   1128497       9006165
                                     SEATBELT NO SMOKING SIGN INOP IN C/B PANEL ( PAX
                                     INFO LIGHTED SIGNS ) ( PAX INFO LIGHTED SIGNS ) (
                                     PAX INFO LIGHTED SIGNS ) ( PAX INFO LIGHTED SIGNS R/R SIGN INFO IAW AMM 23-73-63 PB 401 OPS CHECK
60   PILOT   2   CLOSED   308   33   )                                                    GOOD MEL CLEARED PLACARD REMOVED                   DTW   05/09/17   05/01/17   26   426819   1079438   A320   250N   DEN   1128499       9006164
                                                                                          COMPLIED WITH SERVICE CHECK IN ACCORDANCE
61    MX     2   CLOSED   308   5     SERVICE CHECK DUE                                   WITH GMM 15.01                                     SAN   05/02/17   05/02/17   20   70202    1079440   A320   250N   SAN                 1079440
                                                                                          PERFORMED OPS CK OF COFFEE MAKER PER AMM 25-
62    MX     1   CLOSED   308   25   COFFEE POT NOT BREWING                               35-00-710-018, OPS CK GOOD                         SAN   05/02/17   05/02/17   35   70202    1079440   A320   250N   SAN                 1079440
                                                                                          PERIODIC CHECK C/W PER TASK CARD FFT-M05100-M0-
63    MX     1   CLOSED   308   5    PERIODIC CHECK ASSIGNED                              1                                                  MCO   05/03/17   05/03/17   20   73329    1079444   A320   250N   MCO                 1079444
                                                                                          REF MEL 33-20-02B T/S FASTEN SEAT BELT SIGN PER
                                                                                          TSM. SUSPECT RELATED PISA. NO PARTS TO
64    MX     2   CLOSED   308   33   VBM                                                  CONTINUE T/S. ITEM REMAINS.                        TTN   05/04/17   05/04/17   20   75442    1079447   A320   250N   TTN                 1079447
                                                                                          REF MEL 33-20-01A T/S READING LIGHT FWD FA PER
                                                                                          TSM 33-22-00 PB 201. RELAMPED NO HELP. NEXT STEP
                                                                                          TO REPLACE PISA. NO PARTS AT THIS TIME. MEL
65    MX     1   CLOSED   308   33   VBM                                                  REMAINS.                                           TTN   05/04/17   05/04/17   20   75442    1079447   A320   250N   TTN                 1079447
                                                                                          COMPLIED WITH SERVICE CHECK IN ACCORDANCE
66    MX     1   CLOSED   308   5     SERVICE CHECK DUE                                   WITH GMM 15.01                                     TTN   05/04/17   05/04/17   20   75442    1079448   A320   250N   TTN                 1079448
                                                                                          COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
67    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                             1.                                                 CVG   05/05/17   05/05/17   20   75428    1079450   A320   250N   CVG                 1079450
                                                                                          PERFORMED OPS CHECK PER AMM 73-25-34-710-805A
                                     CLASS II ENG 1 EIU ( FAULT IND ENG EIU ) ( FAULT IND OPS CHECK GOOD MEL CLEARED PLACARDS
68   PILOT   1   CLOSED   308   73   ENG EIU ) ( FAULT IND ENG EIU )                      REMOVED                                            CVG   05/09/17   05/05/17   20   426819   9006151   A320   250N   DEN   1128596       9006164
                                                                                          REMOVED MLG DOOR GROUND LOCK SLEEVES IAW
69    MX     1   CLOSED   308   32   INSTALLED MLG DOOR GROUND LOCK SLEEVES               FRONTIER T/C 321000-02-1                           CVG   05/06/17   05/06/17   0    75428    9006152   A320   250N   CVG                 9006152
                                                                                          SERVICED O2 FWD BOTTLE TO 1680PSIAND AFT
                                                                                          BOTTLE T0 1670PSI IAW AMM 35-11-41PB401AND AMM
                                                                                          12-35-10-600-001 LEAK CHECK GOOD TQ WRENCH S/N
70    MX     2   CLOSED   308   35   CREW O2 REQ SERVICING                                0511023722 DUE 6/28/17                             CVG   05/06/17   05/06/17   10   75428    9006152   A320   250N   CVG                 9006152
                                                                                          C/W PERIODIC CHECK PER F9 TASK CARD FFT-M05100-
71    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                   M0-1 ON W/O # 311040                               ATL   05/07/17   05/07/17   0    70057    9006157   A320   250N   ATL                 9006157
72    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                   PERIODIC CHECK C/W IAW FFT-M05100-M0-1             MCO   05/08/17   05/08/17   20   74702    9006162   A320   250N   MCO                 9006162
73    MX     1   CLOSED   308   5    SERVICE CK REQ                                       C/W SERVICE CK                                     DEN   05/09/17   05/09/17   0    404563   9006166   A320   250N   DEN                 9006166
                                                                                          C/W BITE TEST OF SMOKE DETECT SYS IAW AMM 26-10-
                                                                                          00-740-801-A REF MEL 26-00-00B CTRL 1128687 NO
                                     CLASS II SMOKE ( FAULTS IND SMOKE ) ( FAULTS IND     FAULTS DETECTED THIS CLEARS MEL AND PLACARD
74   PILOT   1   CLOSED   308   26   SMOKE )                                              REMOVED.                                           DEN   05/11/17   05/09/17   0    74415    9006167   A320   250N   AUS   1128687       9006173
                                                                                          ACCOMPLISHED PERIOIDC CHECK IAW T/C FFT-M05100-
75    MX     1   CLOSED   308   5    AIRCRAFT REQUIRES PERIODIC CHECK                     M0-1                                               MCO   05/10/17   05/10/17   20   75021    9006169   A320   250N   MCO                 9006169
                                                                                          ADJUSTED F/A JUMPSEAT HARNESS AS REQUIRED. OK
76   PILOT   1   CLOSED   308   25   FWD F/A JUMP SEAT SHOULDER HARNESS JAMMED            AT THIS TIME                                       MCO   05/10/17   05/10/17   22   75021    9006170   A320   250N   MCO                 9006170
77    MX     2   CLOSED   308   32   LANDING GEAR SAFETY DEVICES INSTALLED                LANDING GEAR SAFETY DEVICES REMOVED                AUS   05/11/17   05/11/17   0    74415    9006173   A320   250N   AUS                 9006173
                                                                                          COMPLIED WITH SERVICE CHECK IN ACCORDANCE
78    MX     1   CLOSED   308   5     SERVICE CHECK DUE                                   WITH GMM 15.01                                     AUS   05/11/17   05/11/17   20   74415    9006174   A320   250N   AUS                 9006174
79    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                   C/W PERIODIC CHECK                                 DEN   05/12/17   05/12/17   20   400762   9006177   A320   250N   DEN                 9006177
80    MX     1   CLOSED   308   32   MLG PINS INSTALLED                                   MLG PINS REMOVED                                   DEN   05/13/17   05/13/17   0    406081   9006179   A320   250N   DEN                 9006179
81    MX     1   CLOSED   308   5    PERIODIC CK DUE                                      C/W PERIODIC CK                                    DEN   05/13/17   05/13/17   20   426820   9006182   A320   250N   DEN                 9006182
                                                                                          PERFORMED OPERATION OF LAV SMOKE DET SYS IAW
82   PILOT   1   CLOSED   308   26   MOMENTARY ECAM SMOKE LAV SMOKE.                      AMM 26-17-00-710-001A OK                           BNA   05/13/17   05/13/17   17   72355    9006181   A320   250N   BNA                 9006181
                                                                                          COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
83    MX     1   CLOSED   308   5    PERIODIC CHECK REQUIRED                              1.                                                 LAS   05/15/17   05/15/17   20   75102    9006186   A320   250N   LAS                 9006186
84    MX     1   CLOSED   308   32   L/G LOCKS INSTALLED                                  L/G LOCKS REMOVED AND STOWED                       AUS   05/16/17   05/16/17   0    74415    9006188   A320   250N   AUS                 9006188
                                                                                          COMPLIED WITH SERVICE CHECK IN ACCORDANCE
85    MX     2   CLOSED   308   5     SERVICE CHECK DUE                                   WITH GMM 15.01                                     AUS   05/16/17   05/16/17   20   74415    9006188   A320   250N   AUS                 9006188
                                                                                          COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
86    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                             1.                                                 LAS   05/16/17   05/16/17   20   74324    9006190   A320   250N   LAS                 9006190
                                                                                          C/W BIRD STRIKE PER AMM 05-51-14 NO DAMAGE
87   PILOT   1   CLOSED   308   5    FOUND BIRD GUTS ON RT GEAR DOOR                      NOTED                                              AUS   05/16/17   05/16/17   50   73638    9006189   A320   250N   AUS                 9006189
                                                                                                                                                                                                                                             Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 8 of 16 Page ID #:648
       A      B       C      D     E                            F                                                   G                           H       I          J       K      L         M         N      O    P       Q      R     S
                                                                                          REMOVED AND REPLACED NLG LH TIRE WHEEL ASSY
                                                                                          IAW AMM 32-41-12 PB 401. MCC NOTIFIED. TIRE
                                                                                          PRESSURE GAUGE S/N NK1804 DUE 9 SEP 17
88     MX     2     CLOSED   308   32   LEFT NLG TIRE WTL                                 TW TIC805 CAL DUE; 04/05/18                          TPA   05/17/17   05/17/17   41   74460    9006192   A320   250N   TPA                 9006192
                                                                                          REMOVED AND REPLACED NLG TIRE WHEEL ASSY IAW
                                                                                          AMM 32-41-12 PB 401. MCC NOTIFIED. TIRE PRESSURE
                                                                                          GAUGE S/N NK1804 DUE 9 SEP 17
89     MX     1     CLOSED   308   32   RIGHT NLG TIRE WTL                                TW TIC805 CAL DUE; 04/05/18                          TPA   05/17/17   05/17/17   41   74460    9006193   A320   250N   TPA                 9006193
                                                                                          REF MDDR 1128865 FOR CVR. CVR OPS CHECK GOOD.
                                                                                          ACOUSTIC FEEDBACK AT PUSH OF TEST BUTTON IS
                                        CVR TEST PRODUCED LOUD FEEDBACK ( CVR ) ( CVR ) NORMAL AT TIMES PER AMM 23-71-00-710-001-A.
90    PILOT   1     CLOSED   308   23   ( CVR )                                           REMOVED MEL.                                         TPA   05/18/17   05/17/17   71   403256   9006192   A320   250N   DEN   1128865       9006197
91     MX     1     CLOSED   308   5    PERIODIC CHECK DUE                                C/W PERIODIC CHECK REF FFT-MO510-M0-1                DEN   05/18/17   05/18/17   0    403177   9006195   A320   250N   DEN                 9006195
                                        EF LOG PAGE 1068881 #1, MEL 80-11-01A FR REQUIRED C/W FR REF MEL 80-11-01A PER AMM 80-11-00-04-804-A
92     MX     2     CLOSED   308   80   FOR #2 ENGINE START VALVE                         A/C OK TO CONTINUE                                   IAD   05/19/17   05/19/17   11   74183    1068883   A320   250N   IAD                 1068883
                                                                                          PERFORMED PERIODIC CHECK IAW T/C FFT-M5100-M0-
93     MX     2     CLOSED   308   5    PERIODIC CHECK DUE.                               1                                                    MCO   05/19/17   05/19/17   20   75961    9006199   A320   250N   MCO                 9006199
94    PILOT   1     CLOSED   308   25   SEAT 13C MISSING ARMREST COVER                    INSTALLED ARMREST COVER AS REQ                       DEN   05/19/17   05/19/17   21   400415   9005201   A320   250N   DEN                 9005201
                                                                                          RESET SPOILERS IAW AMM 27-94-00-710-002 NO FAULT
95    PILOT   1     CLOSED   308   27   FCTL SPLR FAULT #1                                NOTED.                                               MCO   05/19/17   05/19/17   64   75961    9006199   A320   250N   MCO                 9006199
96     MX     1     CLOSED   308   32   MLG PINS INSTALLED                                MLG PINS REMOVED                                     DEN   05/20/17   05/20/17   12   406081   9005203   A320   250N   DEN                 9005203
                                                                                          UPLOADED NAV DATABASE FT81706001 PERT TASK
97     MX     1     CLOSED   308   22   VBM                                               CARD FFT-T22210-TO-1-1                               DEN   05/20/17   05/20/17   71   404655   9005204   A320   250N   DEN                 9005204
                                                                                           COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
98     MX     1     CLOSED   308   5     PERIODIC CHECK REQUIRED                          1.                                                   SAN   05/21/17   05/21/17   20   70250    9005206   A320   250N   SAN                 9005206
                                                                                          PERIODIC CHECK C/W PER TASK CARD FFT-M05100-M0-
99     MX     1     CLOSED   308   5    PERIODIC CHECK ASSIGNED.                          1                                                    MCO   05/22/17   05/22/17   20   73329    9005211   A320   250N   MCO                 9005211
                                                                                           COMPLIED WITH SERVICE CHECK IN ACCORDANCE
                                                                                          WITH GMM 15.01 COMPLIED WITH SERVICE CHECK IN                                                  90052150
100    MX     308   CLOSED   308   5     SERVICE CHECK DUE                                ACCORDANCE WITH GMM 15.01                            TTN   05/23/17   05/23/17   20    TTN     5        A320    250N   TTN                 9005215
                                         PERIODIC CHECK REQUIRED PERIODIC CHECK            COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
101    MX     1     CLOSED   308   5    REQUIRED                                          1.                                                   CVG   05/24/17   05/24/17   20   74975    9005217   A320   250N   CVG                 9005217
                                                                                          PERFORMED #1 ENG MINIMUM IDLE LEAK CHECK REF
102    MX     1     CLOSED   308   71   #1 ENGINE REQUIRES MINIMUM IDLE LEAK CHECK        AMM 73-29-00-740-803. NONE NOTED AT THIS TIME        DEN   05/25/17   05/25/17   71   404817   9005220   A320   250N   DEN                 9005220
                                                                                          PERFORMED #2 ENG MINIMUM IDLE LEAK CHECK REF
103    MX     2     CLOSED   308   71   #2 ENGINE REQUIRED MINIMUM IDLE LEAK CHECKI       AMM 73-29-00-740-803. NONE NOTED AT THIS TIME        DEN   05/25/17   05/25/17   71   404817   9005220   A320   250N   DEN                 9005220
104    MX     2     CLOSED   308   5    SERVICE CHECK REQUIRED                            C/W SERVICE CHECK                                    DEN   05/25/17   05/25/17   20   404817   9005221   A320   250N   DEN                 9005221
105    MX     1     CLOSED   308   32   INSTALLED GROUND SAFTY LOCKS                      REMOVED GROUND SAFTY LOCKS AS REQUIRED               DEN   05/25/17   05/25/17   12   404817   9005221   A320   250N   DEN                 9005221
                                                                                          RE-SECURED FWD PIT BLOW OUT PANEL PER AMM 25-
106   PILOT   1     CLOSED   308   25   FWD PIT - PANNEL UNSECURE                         68-00-400-001-A OK FOR SVG                           SNA   05/25/17   05/25/17   50   70330    9005222   A320   250N   SNA                 9005222
107    MX     1     CLOSED   308   5    ACFT DUE PERIODIC CHECK                           PERIODIC CHECK CW IAW FFT-M05100-M0-1                MCO   05/26/17   05/26/17   20   75022    9005224   A320   250N   MCO                 9005224
                                                                                          LUBED COCKPIT DOOR MICROSWITCH ARM. DOOR
                                        COCKPIT DOOR "OPEN' LIGHT DOES NOT COME ON        OPS CHECK GOOD IAW AMM 52-51-00710-002-A. OK
108   PILOT   1     CLOSED   308   52   WHEN COCKPIT DOOR OPENS                           FOR SERVICE.                                         LAS   05/26/17   05/26/17   50   74753    9005226   A320   250N   LAS                 9005226
                                        LANDING GEAR SAFETY DEVICES INSTALLED FOR
109    MX     1     CLOSED   308   32   MAINTENANCE                                       LANDING GEAR SAFETY DEVICES REMOVED                  AUS   05/27/17   05/27/17   12   74145    9005227   A320   250N   AUS                 9005227
110    MX     1     CLOSED   308   5    PERIODIC CHK DUE.                                 C/W PERIODIC CHK, REF CARD # FFT-MO5100-M0-1.        DEN   05/28/17   05/28/17   20   402984   9005231   A320   250N   DEN                 9005231
                                                                                           COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
111    MX     1     CLOSED   308   5     PERIODIC CHECK REQUIRED                          1.                                                   TTN   05/29/17   05/29/17   20   74190    9005232   A320   250N   TTN                 9005232
                                                                                           COMPLIED WITH SERVICE CHECK IN ACCORDANCE
112    MX     1     CLOSED   308   5     SERVICE CHECK DUE                                WITH GMM 15.01                                       TTN   05/30/17   05/30/17   20    TTN     9005235   A320   250N   TTN                 9005235
                                        TCAS MODE SELECTOR KNOB COMES OFF WHEN            RE-SECURED TCAS MODE SELECTOR KNOB AS
113   PILOT   1     CLOSED   308   23   USED                                              REQURED. OPS CHECK GOOD                              TTN   05/30/17   05/30/17   20    TTN     9005234   A320   250N   TTN                 9005234
                                                                                           COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
114    MX     1     CLOSED   308   5     PERIODIC CHECK REQUIRED                          1.                                                   TTN   05/31/17   05/31/17   20    TTN     9005237   A320   250N   TTN                 9005237
                                        MISSING CERTIFICATE OF SANITATION ABOVE R1
                                        DOOR ( PLACARDS MARKINGS DECALS ) ( PLACARDS      CLEARED MDDR# 1129172 INSTALLER CERT OF
115   PILOT   1     CLOSED   308   11   MARKINGS DECALS )                                 SANITATION AS REQUIRED                               TTN   06/02/17   05/31/17   30   403603   9005238   A320   250N   DEN   1129172       9005247
                                                                                           COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
116    MX     1     CLOSED   308   5     PERIODIC CHECK REQUIRED                          1.                                                   CVG   06/01/17   06/01/17   20   74975    9005240   A320   250N   CVG                 9005240
                                                                                           COMPLIED WITH SERVICE CHECK IN ACCORDANCE
117    MX     1     CLOSED   308   5     SERVICE CHECK DUE                                WITH GMM 15.01                                       LAS   06/02/17   06/02/17   20   74777    9005244   A320   250N   LAS                 9005244
                                                                                          RESET FWD COFFEE MAKER PERFORMED OPS CK ,
118   PILOT   1     CLOSED   308   25   FWD GALLEY COFFEE POT NOT BREWING                 NORMAL BREW NO LEAKS OK TO CONTINUE .                DEN   06/02/17   06/02/17   0    401154   9005246   A320   250N   DEN                 9005246
                                        R AND R FWD COFFEE MAKER IN REF TO AMM 25-35-15 R AND R FWD COFFEE MAKER IN REF TO AMM 25-35-15
119   PILOT   1     CLOSED   308   25   PB 401 OP'S CK'S OK                               PB 401 OP'S CK'S OK                                  DEN   06/02/17   06/02/17   35   411183   9005247   A320   250N   DEN                 9005247
                                                                                          NO TRIGGER CODES PRODUCED IN THE DMU/FPIMU
                                                                                          REF AMM 31-37-00-200-001-A NO RECORD IN AIDS
120   PILOT   2     CLOSED   308   5    LANDED 10,000 LBS OVERWEIGHT                      STORED REPORTS OK TO CONTINUE                        PHX   06/03/17   06/03/17   50   404655   9005248   A320   250N   PHX                 9005248
                                                                                          RAN #1 AND #2 ENGINES WITH PACKS . RAN APU WITH
                                                                                          PACKS. INSPECTED APU. INSPECTED AC BAYS PACKS
                                        FA REPORTED SULFUR/ PROPANE SMELL IN CABIN        1 AND 2 INSPECTED HYD BAYS AFT PIT,FWD PIT
                                        FOLLOWED BY BURNING/ ITCHING EYES AND THROAT RECIRC FILTERS INSPECTED AVIONICS COMP.NO
121   PILOT   1     CLOSED   308   5    ,THE SMELL WAS FOLLOWED BY SOME HAZE IN CABIN. DEFECTS NOTED REF TSM 05-50-00-810-831-A                PHX   06/03/17   06/03/17   50   404805   9005248   A320   250N   PHX                 9005248
122    MX     1     CLOSED   308   32   MLG PINS INSTALLED                                MLG PINS REMOVED                                     DEN   06/04/17   06/04/17   12   406081   9005250   A320   250N   DEN                 9005250
                                                                                                                                                                                                                                               Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 9 of 16 Page ID #:649
       A      B     C      D     E                         F                                                       G                               H       I          J       K      L         M         N      O    P       Q      R     S
                                      INSPECT ODMS/SCAVENGE PLUG, REF. TECH SERV.
123    MX     2   CLOSED   308   79   WORK SCOPE.                                           C/W ENWS-4633 WORK SCOPE, NO DEFECTS NOTED.           DEN   06/04/17   06/04/17   0    406081   9005250   A320   250N   DEN                 9005250
                                                                                            (Resolved On W/O: 313072 Taskcard: NR-00001 )
                                                                                             REF MEL 71-00-00C CTRL# 1129256 LOG PG. 1066102
                                                                                            PERFORMED EIA 1 BITE TEST PER AMM 73-25-34 PB
                                                                                            501. FOUND NO FAULTS. MESSAGE NOT IN SYSTEM. OK
                                      CLASS II ENG 1 EIU ( FAULT IND ENG EIU ) ( FAULT IND FOR SERVICE. THIS CLEARS MEL
124   PILOT   1   CLOSED   308   73   ENG EIU ) ( FAULT IND ENG EIU )                                                                             DEN   06/06/17   06/04/17   20   75021    9066102   A320   250N   MCO   1129256       1066107
125    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                    PERIODIC CHECK CW/ IAW FFT-M05100-M0-1.               MCO   06/05/17   06/05/17   20   73325    1066104   A320   250N   MCO                 1066104
                                                                                            REMOVED/ STOWED MLG GROUND LOCK SLEEVES AS
126    MX     2   CLOSED   308   32   INSTALLED MLG GROUND LOCK SLEEVES                     REQUIRED                                              MCO   06/06/17   06/06/17   12   75021    1066107   A320   250N   MCO                 1066107
                                                                                            REF MEL 71-00-00C CTRL# 1129256 LOG PG. 1066102
                                                                                            PERFORMED EIA 1 BITE TEST PER AMM 73-25-34 PB
                                                                                            501. FOUND NO FAULTS. MESSAGE NOT IN SYSTEM. OK
127    MX     1   CLOSED   308   71   VBM                                                   FOR SERVICE. THIS CLEARS MEL                          MCO   06/06/17   06/06/17   0    75021    1066107   A320   250N   MCO                 1066107
                                                                                            ACCOMPLISHED ENG1, ENG2 MINIMUM IDLE LEAK
128    MX     1   CLOSED   308   71   ENG1, ENG2 REQUIRED MINIMUM IDLE LEAK CHECK           CHECK IAW AMM 71-00-00-710-006                        MCO   06/06/17   06/06/17   71   75021    1066108   A320   250N   MCO                 1066108
                                                                                            PERFORMED OPS TEST OF THE ILS IAW AMM 34-36-00-
129   PILOT   1   CLOSED   308   34   NAV ILS TUNING DISAGREE ECAM.                         710-003-A, NO FAULTS NOTED, A/C OK TO CONTINUE.       LAS   06/06/17   06/06/17   36   75102    1066110   A320   250N   LAS                 1066110
                                      CAT II INOP**SEE TS TAB RECLASSIFED MEL ON LP
                                      1066117 ITEM 1 TO MEL 02-60-01A, CONTROL NUMBER AMM 22-976-00-710-001 AFS&22-97-00-710-001
                                      AND DD REMAIN THE SAME ( CAT IIIA PROHIBITED ) (      PERFORMED AFS AND LAND VERIFY TEST BOTH TERT
                                      CAT IIIA PROHIBITED ) ( CAT II/III PROHIBITED ) ( CAT PASSED A/C UPGRADED TO TO CAT 3 -B REMOVED
130   PILOT   1   CLOSED   308   2    II/III PROHIBITED )                                   MEL 02-60-01A PLACARD 1129272                         MCO   06/08/17   06/06/17   60   401012   1066109   A320   250N   DEN   1129272       1066117
                                                                                             COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
131    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                              1.                                                    AUS   06/07/17   06/07/17   20   74415    1066112   A320   250N   AUS                 1066112
                                                                                            RESECURED ANTENNNA ON PORTABLE ELT IAW AMM
132   PILOT   2   CLOSED   308   25   ELT ANTENNA NOT SECURED.                              25-65-32-400-001A                                     IAD   06/07/17   06/07/17   65   74184    1066113   A320   250N   IAD                 1066113
                                                                                            PERFORMED OPERATIONAL CHECK OF THE AC GEN
                                                                                            SYS AND GAPCU IAW AMM 24-41-00-740-002-B. TEST
                                      CLASS II AC GEN ( FAULT INDGPCUGEN ) ( FAULT          PASSED OPS CHECK GOOD. MX MSG CLEARED. THIS
133   PILOT   1   CLOSED   308   24   INDGPCUGEN ) ( FAULT INDGPCUGEN )                     CLEARS MEL CTRL 1129295.                              IAD   06/08/17   06/07/17   22   74460    1066113   A320   250N   TPA   1129295       1066115
134    MX     1   CLOSED   308   5    A/C NEEDS PERIODIC CHECK                              C W PERIODIC CHECK                                    DEN   06/08/17   06/08/17   20   401012   1066118   A320   250N   DEN                 1066118
                                                                                            SERVICED #1 ENG WITH OIL IAW AMM 12-13-79PB301
135   PILOT   1   CLOSED   308   79   #1 ENG BELOW MIN OIL QTY FOR EST FLIGHT               CONF 03 3 QTS ADDED                                   TPA   06/08/17   06/08/17   31   75300    1066116   A320   250N   TPA                 1066116
                                                                                            R/R'ED #1 MLG TIRE M/M REF 32-41-11 PB 401 T/W
136    MX     1   CLOSED   308   32   #1 MLG TIRE W.T.L                                     F9TAB1768C, 04-18                                     DEN   06/09/17   06/09/17   41   403440   1066119   A320   250N   DEN                 1066119
                                                                                            R/R'ED #2 MLG TIRE M/M REF 32-41-11 PB 401 T/W
137    MX     2   CLOSED   308   32   #2 MLG TIRE W.T.L                                     F9TAB1768C 04-18                                      DEN   06/09/17   06/09/17   41   403440   1066119   A320   250N   DEN                 1066119
                                                                                            R/R'ED #3 MLG TIRE M/M REF 32-41-11 PB 401 T/W
138    MX     1   CLOSED   308   32   #3 MLG TIRE W.T.L.                                    F9TAB1768C, 04-18                                     DEN   06/09/17   06/09/17   41   403440   1066120   A320   250N   DEN                 1066120
                                                                                            R/R'ED #4 MLG TIRE M/M REF 32-41-11 PB 401 T/W
139    MX     2   CLOSED   308   32   #4 MLG TIRE W.T.L.                                    F9TAB1768C 04-18                                      DEN   06/09/17   06/09/17   41   403440   1066120   A320   250N   DEN                 1066120
                                                                                            R/R'ED #3 MLG BRAKE ASSY M/M REF 32-42-27 PB 401
140    MX     2   CLOSED   308   32   #3 MLG BRAKE HAS DAMAGE ON BRAKE DISC                 T/W F9T0217C 06-17                                    DEN   06/09/17   06/09/17   42   403440   1066121   A320   250N   DEN                 1066121
                                                                                            R/R'ED #1 MLG BRAKE ASSY M/M REF 32-42-27 PB 401
141    MX     1   CLOSED   308   32   #1 MLG BRAKE HAS DAMAGE ON BRAKE DISC                 T/W F9T0217C 06-17                                    DEN   06/09/17   06/09/17   42   403440   1066121   A320   250N   DEN                 1066121
142    MX     2   CLOSED   308   5    3-DAY SERVICE DUE                                     C/W 3-DAY SERVICE                                     DEN   06/09/17   06/09/17   20   403440   1066122   A320   250N   DEN                 1066122
                                      #4 MLG BRAKE HAS HEAT DAMAGE ON ROTORS AND            R/R'ED #4 MLG BRAKE ASSY M/M REF 32-42-27 PB 401
143    MX     1   CLOSED   308   32   DISC.                                                 T/W F9T0217C 06-17                                    DEN   06/09/17   06/09/17   42   403440   1066122   A320   250N   DEN                 1066122
                                                                                             COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
144    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                              1.                                                    SAN   06/10/17   06/10/17   20   70250    1066124   A320   250N   SAN                 1066124
                                                                                            FAULT WAS CAUSED BY METAL PLATE UNDER RA2
                                                                                            ANTENNAS. RA2 SYSTEM IS GOOD. REF AMM 34-42-00-
145    MX     1   CLOSED   308   34   RA 2 FAULT                                            740-002-A                                             DEN   06/10/17   06/10/17   42   403256   1066126   A320   250N   DEN                 1066126
                                                                                            ACCOMPLISHED PERIODIC CHECK PER T/C FFT-M05100-
146    MX     1   CLOSED   308   5    AIRCRAFT REQUIRES A PERIODIC CHECK                    M0-1                                                  MCO   06/11/17   06/11/17   20   74260    1066129   A320   250N   MCO                 1066129
                                      FWD SPAR LIFE VEST QT 1 NEEDS 3 ( SPARE PAX LIFE
                                      VESTS ) ( SPARE PAX LIFE VESTS ) ( SPARE PAX LIFE     REF MDDR#1129362 REPLACED FWD SPARE LIFE VEST
147   PILOT   1   CLOSED   308   25   VESTS )                                               AS MAINT REQ PLACARD REMOVED                          MCO   06/13/17   06/11/17   66   404563   1066130   A320   250N   DEN   1129362       1066134
                                                                                             COMPLIED WITH SERVICE CHECK IN ACCORDANCE
                                                                                            WITH GMM 15.01 COMPLIED WITH SERVICE CHECK IN
148    MX     1   CLOSED   308   5     SERVICE CHECK DUE                                    ACCORDANCE WITH GMM 15.01                             TTN   06/12/17   06/12/17   20    TTN     1066131   A320   250N   TTN                 1066131
149    MX     2   CLOSED   308   32   INSTALLED MLG GND LKS                                 REMOVED MLG GND LKS AS MAINT REQ                      DEN   06/13/17   06/13/17   12   404563   1066134   A320   250N   DEN                 1066134
150    MX     1   CLOSED   308   5    PERIODIC CHECK REQUIRED                               C/W PERIODIC CHECK                                    DEN   06/14/17   06/14/17   20   404817   1066136   A320   250N   DEN                 1066136
                                                                                            RESET CIDS 1. OPS CHECK GOOD. REF AMM 23-73-00-
151   PILOT   1   CLOSED   308   23   CLASS II MX MESSAGE: CIDS1                            740-005-A.                                            DEN   06/14/17   06/14/17   0    403256   9003307   A320   250N   DEN                 9003307
                                                                                            RESET CIDS 2. OPS CHECK GOOD. REF AMM 23-73-00-
152   PILOT   2   CLOSED   308   23   CLASS II MX MESSAGE: CIDS 2                           740-005-A.                                            DEN   06/14/17   06/14/17   0    403256   9003307   A320   250N   DEN                 9003307
                                                                                             COMPLIED WITH SERVICE CHECK IN ACCORDANCE
153    MX     1   CLOSED   308   5     SERVICE CHECK DUE                                    WITH GMM 15.01                                        SAN   06/15/17   06/15/17   20   70339    1066138   A320   250N   SAN                 1066138
                                                                                            UPLOADED NAV DARABASE S/N FT81707001 PER FFT-
154    MX     1   CLOSED   308   22   NAV DATA UPLOAD DUE                                   T22210-T0-1-1                                         DEN   06/15/17   06/15/17   71   402562   1066139   A320   250N   DEN                 1066139
                                                                                            C/W PERIODIC CHECK REFF TASK CARD FFT-M05100-
155    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                    M0-1                                                  DEN   06/16/17   06/16/17   20   427383   1066142   A320   250N   DEN                 1066142
156    MX     1   CLOSED   308   5    PERIODIC CHECK DUE                                    C/W PERIODIC CHECK PER FFT-M05100-M0-1.               DEN   06/16/17   06/16/17   20   403256   9024996   A320   250N   DEN                 9024996
                                                                                            FREED UP/UNTANGLED FA JUMPSEAT "C" SEAT BELT
                                                                                            AS REQURED PER AMM 25-22-41-400-002-A. OPS CHECK
157   PILOT   1   CLOSED   308   25   F/A JUMPSEAT "C" SEAT BELT STUCK                      GOOD AT THIS TIME. A/C OK TO CONTINUE.                LAX   06/16/17   06/16/17   22   75393    1066145   A320   250N   LAX                 1066145
                                                                                            PERFORMED IDLE LEAK CK TO # 1 ENG., REF. AMM. 71-
                                      # 1 ENG. REQUIRES IDLE LEAK CK PER WORK CARD AC- 00-00-710-815-A, NO LEAKS NOTED PER TASK CARD AC-
158    MX     2   CLOSED   308   71   72EO-33779-TASK                                       72EO-33779.                                           DEN   06/17/17   06/17/17   71   404066   1066146   A320   250N   DEN                 1066146
159    MX     1   CLOSED   308   5    SERVICE CK DUE                                        C/W SERVICE CK                                        DEN   06/17/17   06/17/17   20   406081   1066146   A320   250N   DEN                 1066146
                                                                                            PERFORMED IDLE LEAK CK TO # 2 ENG. PER TASK
                                      # 2 ENG. REQUIRES IDLE LEAK CK PER TASK CARD #        CARD # AC-72EO-33779 REF. AMM. 71-00-00-710-006 AND
160    MX     1   CLOSED   308   71   AC-72EO-33779-TASK.                                   AMM. 71-00-00-710-815-A, NO LEAKS NOTED               DEN   06/17/17   06/17/17   71   406081   1066147   A320   250N   DEN                 1066147
                                                                                             COMPLIED WITH PERIODIC CHECK IAW FFT-M05100-M0-
161    MX     1   CLOSED   308   5     PERIODIC CHECK REQUIRED                              1.                                                    DCA   06/18/17   06/18/17   20   74151    1066149   A320   250N   DCA                 1066149
                                                                                             COMPLIED WITH SERVICE CHECK IN ACCORDANCE
                                                                                            WITH GMM 15.01 TIRE GUAGE S/N JC2225, CALDUE
162   PILOT   1   CLOSED   308   5    3 DAY SERVICE CHECK REQUIRED                          09/20/17                                              PDX   06/19/17   06/18/17   20   74692    1085052   A320   250N   PDX                 1085052
                                                                                                                                                                                                                                                  Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 10 of 16 Page ID #:650
       A      B     C      D     E                          F                                              G                             H       I          J       K      L         M         N      O    P    Q   R     S
                                                                                    REPLACED CERTIFICATE OF REGISTRATION PER EA#
                                      AIRCRAFT REQ'S REPLACEMENT OF CERTIFICATION   AO-11T-31914.
163    MX     1   CLOSED   308   11   REISTRATION                                   ALL STEPS C/W                                       DEN   06/19/17   06/19/17   0    401182   1085054   A320   250N   DEN           1085054
                                                                                    CLEANNED ALL THREE LAV SMOKE DET. FILTERS
164   PILOT   1   CLOSED   308   23   CLASS 2 MESSAGE : MAINTENANCE CIDS 1          FAULT CLEARD REF. AMM 21-23-00-600-001              DEN   06/19/17   06/19/17   73   403253   1085053   A320   250N   DEN           1085053
                                                                                    ACCOMPLISHED PERIODIC CHECK IAW T/C FFT-M05100-
165    MX     1   CLOSED   308   5    AIRCRAFT REQUIRES PERIODIC CHECK              M0-1                                                MCO   06/20/17   06/20/17   20   75884    1085056   A320   250N   MCO           1085056
166   PILOT   1   CLOSED   308   32   INSTALLED MLG DOOR GROUND LOCKS               REMOVVED MLG DOORR GROUND LOCKS                     TTN   07/13/17   06/20/17   0    75997    1075059   A320   250N   TTN           1085059
167    MX     1   CLOSED   308   32   INSTALLED MLG DOOR GROUND LOCKS               REMOVED MLG GROUND LOCKS                            TTN   06/20/17   06/20/17   10   75997    1085059   A320   250N   TTN           1085059
                                                                                    FOUND TO BE WITHIN LIMITS PER AMM 72-21-00 PB601.
168   PILOT   1   CLOSED   308   72   2 LONGITUDINAL CRACKS ON FAN CASING           AIRCRAFT OK FOR SVC                                 TTN   06/21/17   06/21/17   20   75997    1085060   A320   250N   TTN           1085060
                                                                                                                                                                                                                                  Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 11 of 16 Page ID #:651
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                 Exhibit B
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   Frontier Airlines: Experience onboard
   Discussion Thread
  Response                                                                          06/07/2017 10:41 PM
  Dear Andrea,

  Thank you for letting me know about your flight from Los Angeles to Orlando on June 2, 2017. I am sorry about the diversion.

  Our Apologies
  I understand you're flying with us because you have somewhere to be. That's a reasonable expectation! I'm sorry to hear that there
  was an emergency on your flight. I understand that there is concern over the matter. Safety is our priority which is why the landing
  was necessary. There was a maintenance issue that needed to be dealt with. After our maintenance looked at the plane they
  discovered nothing wrong with it.
  Refund
  Respectfully, we are unable to provide you with a refund. Although the original flight was diverted, we did provide hotel
  accommodations and covered it with an extra flight.

  We Care About You
  It's important for us to keep good relationships with customers like you. In an effort to prove we can do better, you were issued a
  $200 voucher (30473558277100001) to use as a discount on a future Frontier flight. Your voucher expires on September 1, 2017,
  but you do not have to travel within this time frame. Travel just has to be reserved before the expiration date. Further voucher
  redemption details are below.

  Come Back Soon
  I apologize again for your past experience, and I highly encourage you to give us the chance to impress you on your next flight. I'm
  confident your next experience with us will be a good one!

  Regards,

  Ronald
  Customer Relations Specialist
  Frontier Airlines

  PS. We want your feedback! Fill out our survey and be entered to win 2 FREE round-trip tickets on Frontier airlines valued at $400.
  Click the link to take the survey: https://www.surveymonkey.com/r/J25VSBQ
  *One winner will be selected and notified by email each month. Please provide your name and email address at the end of the survey
  if you would like to be entered to win.

  *****************************************
  Just follow these simple steps to redeem your voucher:

  1. Visit www.flyfrontier.com and select your flight.
  2. On the payment screen, select Have a Voucher from Frontier? Add Voucher Here, enter your voucher number in the field
  provided, and select Apply Voucher.

   • It’s not redeemable for cash.
   • It must be booked within 90 days from date of issue.
        Note: There are no restrictions on travel date.
   • It’s one-time use, meaning there will be no remaining value after redemption.
   • It may not cover the entire value of the purchase. Any remaining balance due must be paid by the customer.
   • It’s not transferable and may only be redeemed in the name of the passenger to whom it was issued.
   • The name on the new reservation must match the old reservation exactly.
   • It may not be applied toward group bookings or paid options such as baggage, change fees, seat assignments, or other charges.



  Note                                                                            06/07/2017 09:37 PM
  There was a mention of a lawsuit over smell/chemical being released from the plane during emergency landing

  Customer ((RES) Joan Sta. Ana)                                                 06/07/2017 09:00 PM
  Your concerns have been forwarded to a Customer Relations specialist for handling in the order received.

  Note ((RES) Joan Sta. Ana)                                                        06/07/2017 09:00 PM
  8056377133
  BB18NN
  andrea ci abt her flts last 02Junem, due to emergency/ pax wants someone to call her, to explain what happened on the flt, what they
  were exposed to, since pax experience burning on her eyes during the flt, as well as for other pax/ pax wants to have more than what




                                                                FA0031
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  she given which is the $200 VO/ first pax wants to have a refund on her ticket , and wants additional compensation/ adv that we wont
  be able to answer her questions regarding on what happened on the flt, why there's a emergency landing, what they were exposed
  to/ as per pax, she's working with some people, for a legal/ possible DOT trigger, was adv to connect call over to a sup, as per
  coach.

  **hd//notes**
  andrea ci want to file a complaint about the flt last june 2nd//the plane did a emergency landing due to mechanical issue//there was a
  bad smell comming out from the cabin//pax insist that they need to come out of the plane but need to be by group of 10//pax said that
  no one provide food or water//no one update the passengers what was going on or what happen to the flt//pax dont want the $200
  VO and asking for a rfnd for the boarded flt//adv that reservation cannot process any rfnd for boarded flt//pax start mention about
  lawsuit//adv that i will forward the concern to CR//adv that she will receive an email confirmation within 48 hrs//adv CR office
  hours//pax ok//eoc//
  ggali006//bgo


   Primary Contact
   First Name:                 Andrea
   Last Name:                  Ridgell
   Organization:
   Login:
   Title:
   Contact Type:
   Email:                andrea@glopandglam.com
   Email - Alternate #1:
   Email - Alternate #2:
   Office Phone:
   Mobile Phone:
   Fax:
   Assistant Phone:
   Home Phone:
   Street
   City
   State/Province
   Postal Code
   Country                     US
   Additional Information
   Flight Number: 1630
   Departure City: LAX
   Destination City:MCO
   Received Type: QUE - CR_RSP (CR response needed)
   Station:         MARKETING/PRICING/POLICY/Revenue Mgmnt
  Verbatim
  Pax is requesting a refund due to emergency landing and smell on the plane.

  Resolution
  06/07/2017 Ronald: Apologized and informed pax of refund policy.




                                                                FA0032
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     1                                  PROOF OF SERVICE
     2                              STATE OF CALIFORNIA
                                  COUNTY OF SAN FRANCISCO
     3

     4          I am a employed in the County of San Francisco, State of California, I am over
     5 the age of eighteen years, and not a party to the within action. My business address is

     6 101 Second Street, 24th Floor, San Francisco, California 94105.

     7          On May 20, 2019, I served the document(s) described as:
     8 DECLARATION OF JAMES E. NIDES IN SUPPORT OF FRONTIER AIRLINES
                          INC.’S MOTION FOR SUMMARY JUDGMENT
     9
                on the parties in this action addressed as follows:
    10
                                   SEE ATTACHED SERVICE LIST
    11
                in the following manner:
    12
               (BY FAX): by transmitting via facsimile the document(s) listed above to the
    13          fax number(s) set forth below, or as stated on the attached service list, on this
                date before 5:00 p.m.
    14
               (BY MAIL): as follows: I am “readily familiar” with the firm’s practice of
    15          collection and processing correspondence for mailing. Under that practice it
                would be deposited with the U.S. Postal Service on that same day with postage
    16          thereon fully prepaid at San Francisco, California in the ordinary course of
                business. I am aware that on motion of the party served, service is presumed
    17          invalid if postal cancellation date or postage meter date is more than one day
                after the date of deposit for mailing in affidavit.
    18         (BY OVERNIGHT DELIVERY): I caused such envelope(s) to be delivered
                to an overnight delivery carrier with delivery fees provided for, addressed to
    19          the person(s) on whom it is to be served.
    20         (BY PERSONAL SERVICE): I caused such envelope(s) to be delivered by
                hand this date to the offices of the addressee(s).
    21         (BY CM/ECF): by electronic filing system with the clerk of the Court which
                will send a Notice of Electronic Filing to all parties with an e-mail address of
    22          record, who have filed a Notice of Consent to Electronic Service in this action:
    23
                I declare I am employed in the office of a member of the bar of this court at
    24
         whose direction the service was made.
    25
                Executed on May 20, 2019, at San Francisco, California.
    26

    27
                                                        Sonja L. Gray
    28

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             DECLARATION OF JAMES E. NIDES IN SUPPORT OF FRONTIER AIRLINES, INC.’S
                              MOTION FOR SUMMARY JUDGMENT
                                  Case 2:18-cv-04916-PA-AFM Document 56-4 Filed 05/20/19 Page 16 of 16 Page ID #:656


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                                                    15
                    th




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                                                            DECLARATION OF JAMES E. NIDES IN SUPPORT OF FRONTIER AIRLINES, INC.’S
                                                                             MOTION FOR SUMMARY JUDGMENT
